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&nbsp;

IN THE COURT OF APPEALS

&nbsp;

FOR THE
SEVENTH DISTRICT OF TEXAS

&nbsp;

AT
AMARILLO

&nbsp;

PANEL B

&nbsp;



OCTOBER
8, 2010

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&nbsp;

MICHAEL DON DENTON, APPELLANT

&nbsp;

v.

&nbsp;

THE STATE OF TEXAS, APPELLEE 



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&nbsp;

&nbsp;FROM THE 181ST DISTRICT COURT OF RANDALL
COUNTY;

&nbsp;

NO. 18,607-B, 18,608-B; HONORABLE JOHN B. BOARD, JUDGE



&nbsp;



&nbsp;

Before QUINN,
C.J., and CAMPBELL and HANCOCK, JJ.

&nbsp;

&nbsp;

ABATE AND REMAND

&nbsp;

Appellant Michael Don Denton appeals
his convictions and sentences.&nbsp; We will
abate the appeals and remand the cases to the trial court for proceedings
consistent with this order.

The record in these appeals was filed
July 12, 2010, and appellant’s brief was due August 11. Appellant did not file
his brief and on August 25 we issued a letter notifying him that unless his
brief was filed by September 7 the appeals would be abated and remanded to the
trial court without further notice.&nbsp;
Appellant did not file his brief but filed a motion requesting an
extension for filing his brief. Appellant grounded the motion on his counsel’s
heavy workload.&nbsp; The motion also
referenced the possibility of voluntary dismissal.&nbsp; We granted the extension, giving appellant
until September 27 to file his brief.&nbsp;
Appellant did not file his brief or a motion to dismiss the appeal nor
did he file a motion seeking a further extension of time to file his brief.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We
now abate the appeals and remand both cases to the trial court for further
proceedings.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; On
remand, the trial court is directed to immediately notice and conduct a hearing
to determine:

1. whether appellant desires to prosecute the
appeals;

2. whether appellant’s retained counsel will
diligently pursue the appeals;

3. if it is determined that present counsel will
not diligently pursue the appeals, whether appellant is presently indigent, and
if so, whether appellant is entitled to a free appellate record and appointed
counsel on appeal.

The trial court shall cause the
hearing to be transcribed. So too shall it 1) execute findings of fact and
conclusions of law addressing the foregoing issues, 2) cause to be developed a
supplemental clerk’s record containing the findings of fact and conclusions of
law and all orders it may issue as a result of its hearing on this matter, and
3) cause to be developed a reporter’s record transcribing the evidence and
arguments presented at the aforementioned hearing. Additionally, the trial
court shall then file the supplemental record with the clerk of this court on
or before November 8, 2010.&nbsp; Should
further time be needed by the trial court to perform these tasks, then same
must be requested before November 8, 2010.&nbsp;
Finally, if the trial court determines that appellant is entitled to
appointed counsel and appoints counsel, it must inform this court of the name,
address, telephone number, telefax number, and state
bar number of the appointed counsel.

It is so ordered.

&nbsp;

Per Curiam

&nbsp;

Do not
publish. 

&nbsp;

&nbsp;

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